       Case 3:22-cv-00319-SDD-EWD         Document 1-4      05/17/22 Page 1 of 1




ROY HENDERSON                                  19TH JUDICIAL DISTRICT COURT

VERSUS                                         DOCKET NO.: C-717874, SECT. 23

JERRY HORTON, EAST AND WEST                    PARISH OF EAST BATON ROUGE
TRUCKING, INC. AND SENTRY
SELECT INSURANCE COMPANY                       STATE OF LOUISIANA


                         NOTICE OF FILING OF REMOVAL


      PLEASE TAKE NOTICE that on May 17, 2022, Defendants, JERRY HORTON,

EAST AND WEST TRUCKING, INC. AND SENTRY SELECT INSURANCE

COMPANY, filed in the office of the Clerk of Court, United States District Court for the

Middle District of Louisiana, a Notice of Removal of the above captioned action. A copy

of the Notice of Removal is annexed hereto.


                                        Respectfully submitted:

                                        RABALAIS, HEBERT & COUVILLION, LLC

                                        s/ Melvin A. Eiden
                                        __________________________________
                                        STEVEN B. RABALAIS (#17100) T.A.
                                        MELVIN A. EIDEN (#19557)
                                        BLAKE T. COUVILLION (#37443)
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                                        ATTORNEYS FOR DEFENDANTS,
                                        JERRY HORTON, EAST AND WEST TRUCKING,
                                        INC. AND SENTRY SELECT INSURANCE
                                        COMPANY

                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing has this day been

forwarded as follows:

                  ---   U.S. Mail (First Class)
                  ---   Hand Delivery
                  ---   Facsimile
                  ---   Overnight Delivery
                   x    E-Mail – All Known Counsel

      Lafayette, Louisiana on this 17th day of May, 2022.

                                 s/ Melvin A. Eiden
                            ________________________
                              STEVEN B. RABALAIS
                                MELVIN A. EIDEN
                              BLAKE T. COUVILLION
